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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS

                           Date: Wednesday, April 23, 2008

UNITED STATES OF AMERICA                             Judge James M. Moody
     Represented by Jana Harris                      Court Reporter: Karen Baker
                                                     Clerk: Donna Jackson
vs.          Case 4:06cr104-06                       USPO: Selina Earsa & Aaron
                                                     Germany
LANORA MARSHELLE GLASS
    Represented by Brannon Sloan


              CLERK’S MINUTES - Supervised release revocation hearing
                     (Docket entries 246 & 266)

Time began: 11:17 a.m.

      Defendant appeared with appointed counsel.

      Court reviews history.

11:23 a.m.         Defendant’s proof:
                   1)     Lanora Marshelle Glass - sworn
                          Direct - Sloan
11:35 a.m.                Cross - Harris
             Witness steps down.

11:40 a.m.          2)    Terry Glass - sworn
                          Direct - Sloan
11:47 a.m.                Cross - Harris
             Witness steps down.

11:48 a.m.          3)    Selena Earsa - sworn
                          Direct Sloan
11:54 a.m. Witness steps down.
Defendant’s proof concluded.

      Argument by defense counsel.
      Response by USA.

      The Court finds that Defendant has violated her conditions of supervised release
and grants motions to revoke supervised release.

        JUDGMENT: 4 months imprisonment; 2 years supervised release; no fine;
restitution $12,390.27; $85.00 special assessment. Defendant allowed to self report to
the designated facility no later than 2:00 p.m., on May 27, 2008.

      Defendant advised of right to appeal.

Time end:    12:06 p.m.
